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FoR THE WESTERN DISTRICT oF TENNESSEE 05 m !.!- PH 3: 30
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T. A. WINGO, Trustee of
T. A. COX TRUST
d/b/a CITY CENTER SHOPPING CENTER,

Plaintif`f,
VS. Cause No. 02-2914-DV

REPUBLIC-FRANKLIN INSURANCE
COMPANY, UTICA NATIONAL
INSURANCE GROUP, and

ALLIANZ GLOBAL RISKS

US INSURANCE COMPANY f/k/a
Allianz Insurance Company,

I)efendants.

 

ORDER GRANTING MOTION TO REVISE SCHEDULING
ORDER AND F()R NEW TRIAL DATE

 

This matter came before the Court upon the written l\/lotion, Memorandum and
Certificate of Consultation to Revise Scheduling Order and for New Trial Date filed by the
Def`endants. Whereupon, the Court finds that good cause having been shown, the Rule l6(b)
Scheduling Order should be revised pursuant to the attached Revised Rule l6(b) Scheduling
Order and the trial currently set to commence on October l'7, 2005, Should be continued to the
first available date in May 2006.

WHEREFORE, PREMISES CONSIDERED, IT IS HEREBY ORDERED, ADJUDGED
AND DECREED that the Scheduling Order of March 2, 2005 is hereby revised as set forth on

the attached
This document entered on the docket she tin coii§§gve
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This notice confirms a copy of` the document docketed as number 45 in
case 2:02-CV-02914 Was distributed by f`aX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

